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Neelay Das Gabriel Rostom . “Y
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Pleasanton, CA 94588-2747 75011 PARIS — France Ye
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Email: neelay bbby.njb@gmail.com Tel : +33756942880 N On,
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Stockholder CONE
Ti Re: Chapter 11
BED BATH & BEYOND INC., et al.,
Case No. 23-13359 (VFP)
Debtors.
(Jointly Administered)
D.C. 493A. 407 87-

APPELLANTS’ STATEMENT OF ISSUES ON APPEAL AND DESIGNATION OF

ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL
SS re ER EN LE RECORD ON APPEAL

Pursuant to Rule 8009(a) of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), Appellants Neelay Das and Gabriel Rostom (the
“Appellants”), the undersigned holders of Common Stock equity interests in

20230930-DK-Butterfly-1, Inc. (f/k/a Bed Bath & Beyond Inc.) (the “Debtor

' The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.

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Corporation”), which has traded on the Nasdaq exchange under the symbol
“BBBY” and has traded over the counter under the symbol “BBBYQ” as recently
as 09/29/2023, submit this statement of issues to be presented on appeal from the
Order (7) Approving the Disclosure Statement on a Final Basis and (I])
Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond
Inc. and Its Debtor Affiliates [Docket No. 2172] (the “Order’’), entered on
September 14, 2023 by the United States Bankruptcy Court for the District of

New Jersey.

STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL
ee ES LO BE PRESENTED ON APPEAL

L. Whether the Bankruptcy Court’s approval of the
Solicitation Procedures seeking acceptances and rejections of Debtors’
Second Amended Joint Chapter 11 Plan (the “Chapter 11 Plan”) for
this non small business case based on a conditionally approved
disclosure statement, without determination of adequacy of the
information in the disclosure statement, cannot stand the decisions in
In re Amster Yard Associates, 214 B.R. 122 (Bankr. $8.D.N.Y. 1997)
and In re Gerlinger, Inc., No. 03-39184 (Bankr. N.D. Ohio Jan. 18,
2005).

is Whether, pursuant to 11 U.S.C. § 1129(a)(2), the
Bankruptcy Court erred in confirming Debtors’ Second Amended Joint

Chapter 11 Plan despite the Debtors using Solicitation Procedures
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seeking acceptances and rejections of the Chapter 11 Plan for this non
small business case based on a conditionally approved disclosure
statement, without determination of adequacy of the information in the
disclosure statement, in violation of provisions in 11 U.S.C. § 1125(b).
3. Whether the Bankruptcy Court’s conclusion of not finding
any authority pursuant to 11 U.S.C. § 541 for the proposition that
authorized stock of a debtor corporation is property of the estate and
the debtor corporation as opposed to the party holding the stock cannot
stand, while discussing the Appellants’ objections in their Motion To
Vacate The Order (I) (A) Conditionally Approving The Adequacy Of
The Disclosure Statement, (B) Approving The Solicitation And Notice
Procedures With Respect To Confirmation Of The Plan, (C) Approving
The Forms Of Ballots And Notices In Connection Ti herewith (the
“Motion To Vacate”) during the Plan Confirmation Hearing and
Motions Hearing held on September 12, 2023 at 2:30 pm E.T. cannot
stand the opinion from the U.S. Supreme Court in Butner v. United
States, 440 U.S. 48, 55 (1979) that “Property interests are created and

defined by state law” and the New York state law statutes NY Pers.
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Prop. § 251.3? and § 251.4° pursuant to which the Debtors had a legal
interest in the stock of the Debtor Corporation as personal property at
the commencement of the bankruptcy case, considering the fact that
the Debtor was entitled to possession of any lost, including abandoned,
shares and stock certificates evidencing them’.

4, Whether the Bankruptcy Court erred in approving the
disclosure statement on a final basis, while overruling the Appellants’
objection in the Motion To Vacate that the Disclosure Statement did
not not meet the requirement of providing adequate information to the
claimants, pursuant to sections 1125(a)( 1) and 1125(f)(3) of the
Bankruptcy Code, that the claims from claimants who were holding
borrowed shares of Bed Bath and Beyond Common Stock, which
pursuant to section 541 of the Bankruptcy Code constitute property of

the Debtors’ estate, are disallowed and made them ineligible to vote on

* The term “lost property” as used in this article includes lost or mislaid property. Abandoned property, waifs and
treasure trove, and other property which is found, shall be presumed to be lost property and such presumption shall
be conclusive unless it is established in an action or proceeding commenced within six months after the date of the
finding that the property is not lost property.

See NY Pers. Prop. § 251.3

* The term “owner” as used in this article means any person entitled to possession of the lost property as against the
finder and against any other person who has made a claim.

See NY Pers. Prop. § 251.4
‘ . The Board of Directors may direct a new certificate or new
certificates be issued in place of any certificate theretofore issued by the Corporation alleged to have been lost,
mutilated, stolen or destroyed.

See BED BATH & BEYOND INC., AMENDED AND RESTATED BY-LAWS, at 29 (Jun. 19, 2019)
https://www.sec. gov/Archives/edgar/data/886158/000110465919036407/a19-101 16_4ex3d1.htm
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the acceptance of the Chapter 11 plan, pursuant to sections IV.I.6 of
the Disclosure Statement and IX.F of the Debtors’ Chapter 11 Plan and
section 542 of the Bankruptcy code, on the basis of not finding any
authority pursuant to 11 U.S.C. § 541 for the proposition that
authorized stock of a debtor corporation is property of the estate and
the debtor corporation as opposed to the party holding the stock.

2, Whether the Bankruptcy Court, on the basis of not finding
any authority pursuant to 11 U.S.C. § 541 for the proposition that
authorized stock of a debtor corporation is property of the estate and
the debtor corporation as opposed to the party holding the stock, erred
in confirming the Chapter 11 Plan, while overruling the Appellants’
objection in the Motion To Vacate that by on one hand potentially
allowing distributions to claimants with disallowed claims and on the
other hand not providing for turnover of borrowed Common Stock
pursuant to section 542 of the Bankruptcy code, before it was
canceled, the Chapter 11 Plan was not fair and equitable with respect
to the classes in accordance with section 1129(b) of the Bankruptcy
code.

DESIGNATION OF THE RECORD ON APPEAL
Without waiving any arguments on appeal, the Appellants designate each
of the following documents from the above-captioned case for inclusion in the

record on appeal (including any exhibit, annex, appendix, addendum, or schedule
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thereto). The Appellants reserve the right to supplement this designation and the

record on appeal.

Index

Document

Filing Date

D.I. No.

Chapter 11 Voluntary Petition Filed by Michael D. Sirota
on behalf of Bed Bath & Beyond Inc.

04/23/2023

Document re: Declaration of Holly Etlin, Chief
Restructuring Officer and Chief Financial Officer of Bed
Bath & Beyond Inc., in Support the Debtors’ Chapter 11
Petitions and First Day Motions (related document: 1
Voluntary Petition (Chapter 11) filed by Debtor Bed Bath &
Beyond Inc.) filed by Michael D. Sirota on behalf of Bed
Bath & Beyond Inc..

04/23/2023

Motion re: Debtors' Motion for Entry of Interim and Final
Orders (I) Approving Notification and Hearing Procedures
for Certain Transfers of Common Stock and Preferred
Stock (II) Granting Related Relief Filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc..

04/23/2023

23

Motion re: Debtor's Motion for Entry of Interim and Final
Orders (I) Authorizing the Debtors to (A) Obtain
Postpetition Financing and (B) Utilize Cash Collateral, (II)
Granting Liens and Superpriority Administrative Expense
Claims, (III) Granting Adequate Protection, (IV) Modifying
the Automatic Stay, (V) Scheduling a Final Hearing, and
(VI) Granting Related Relief Filed by Michael D. Sirota on
behalf of Bed Bath & Beyond Inc..

04/23/2023

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Order Granting Motion For Joint Administration Lead
Case: 23-13359 Member Cases: 23-13360, 23-13361,
23-13362, 23-13363, 23-13364, 23-13365, 23-13366,
23-13367, 23-13368, 23-13369, 23-13370, 23-13371,
23-13372, 23-13373, 23-13374, 23-13375, 23-13376,
23-13377, 23-13378, 23-13379, 23-13380, 23-13381,
23-13382, 23-13383, 23-13384, 23-13385, 23-13386,
23-13387, 23-13388, 23-13389, 23-13390, 23-13391,
23-13392, 23-13393, 23-13394, 23-13395, 23-13396,

04/24/2023

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23-13397, 23-13398, 23-13399, 23-13400, 23-13401,
23-13402, 23-13403, 23-13404, 23-13405, 23-13406,
23-13407, 23-13408, 23-13409, 23-13410, 23-13411,
23-13412, 23-13413, 23-13414, 23-13415, 23-13416,
23-13417, 23-13418, 23-13419, 23-13420, 23-13421,
23-13422, 23-13423, 23-13424, 23-13425, 23-13426,
23-13427, 23-13428, 23-13429, 23-13430, 23-13431,
23-13432.

6 | Document re: Declaration of Sarah Baker in Support of 05/02/2023 178
Debtors' Motion for Entry of Interim and Final Orders (1)
Authorizing The Debtors to Assume the Consulting
Agreements, (II) Authorizing and Approving The Conduct
of Store Closing Sales, With Such Sales to be Free And
Clear of All Liens, Claims, and Encumbrances, (III)
Authorizing Customary Bonuses to Employees of Closing
Stores, and (IV) Granting Related Relief (related
document:28 Motion (Generic) filed by Debtor Bed Bath &
Beyond Inc.) filed by Jessica Deborah Mikhailevich on
behalf of Hilco Merchant Resources, LLC and Gordon
Brothers Retail Partners, LLC. (Attachments: # 1 Schedule
1 Parties in Interest List # 2 Schedule 2 Disclosures)

7 | Document re: Declaration of David Braun in Support of 05/02/2023 179
Debtors' Motion for Entry of Interim and Final Orders (1)
Authorizing The Debtors to Assume the Consulting
Agreements, (II) Authorizing and Approving The Conduct
of Store Closing Sales, With Such Sales to be Free And
Clear of All Liens, Claims, and Encumbrances, (III)
Authorizing Customary Bonuses to Employees of Closing
Stores, and (IV) Granting Related Relief (related
document:28 Motion (Generic) filed by Debtor Bed Bath &
Beyond Inc.) filed by Jessica Deborah Mikhailevich on
behalf of Gordon Brothers Retail Partners, LLC.
(Attachments: # 1 Schedule 1 Parties in Interest List #2
Schedule 2 Disclosures)

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Document re: Declaration Mark P. Naughton on Behalf of
Tiger Capital Group, LLC in Support of Debtors' Motion
For Entry of Interim And Final Orders (I) Authorizing The
Debtors to Assume The Consulting Agreements, (II)
Authorizing and Approving The Conduct of Store Closing
Sales, With Such Sales to be Free and Clear Of All Liens,
Claims, and Encumbrances, (III) Authorizing Customary
Bonuses To Employees of Closing Stores, and (IV)
Granting Related Relief (related document:28 Motion
(Generic) filed by Debtor Bed Bath & Beyond Inc.) filed
by Jessica Deborah Mikhailevich on behalf of Tiger
Capital Group, LLC. (Attachments: # 1 Schedule 1 Parties
in Interest List #2 Schedule 2 Disclosures)

05/02/2023

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Document re: Declaration of Scott K. Carpenter On Behalf
Of B. Riley Retail Solutions, LLC in Support of Debtors’
Motion For Entry of Interim And Final Orders (1)
Authorizing The Debtors to Assume The Consulting
Agreements, (II) Authorizing and Approving The Conduct
of Store Closing Sales, With Such Sales to be Free and
Clear Of All Liens, Claims, and Encumbrances, (III)
Authorizing Customary Bonuses To Employees of Closing
Stores, and (IV) Granting Related Relief (related
document:28 Motion (Generic) filed by Debtor Bed Bath
& Beyond Inc.) filed by Jessica Deborah Mikhailevich on
behalf of B. Riley Retail Solutions, LLC. (Attachments: #
1 Schedule 1 Parties in Interest List # 2 Schedule 2
Disclosures)

05/02/2023

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Notice Re: Creditors! Committee. Creditors Comunittee
Appointed filed by U.S. Trustee.

05/05/2023

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Final Order (I) Approving Notification and Hearing
Procedures for Certain Transfers of Common Stock and
Preferred Stock and (II) Granting Related Relief (Related
Doc # 23)

05/31/2023

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Disclosure Statement Filed by Michael D. Sirota on behalf
of Bed Bath & Beyond Inc..

07/21/2023

1437

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Motion re: Debtors' Motion for Entry of an Order (I) (A)
Conditionally Approving the Adequacy of the Disclosure
Statement, (B) Approving the Solicitation and Notice
Procedures with Respect to Confirmation of the Plan, (C)
Approving the Forms of Ballots and Notices in Connection
Therewith, and (D) Scheduling a Combined Disclosure
Statement Approval and Plan Confirmation Hearing and
Certain Dates and Deadlines with Respect Thereto, and (E)
Granting Related Relief, and (II) (A) Extending the
Debtors! Exclusive Periods to File a Chapter 11 Plan and
Solicit Acceptances Thereto Pursuant to Section 1121 of
the Bankruptcy Code and (B) Granting Related Relief
Filed by Michael D. Sirota on behalf of Bed Bath &
Beyond Inc..

07/21/2023

1438

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Redline to Amended Chapter 11 Plan in support of (related
document:1687 Chapter 11 Plan filed by Debtor Bed Bath
& Beyond Inc.) filed by Michael D. Sirota on behalf of
Bed Bath & Beyond Inc..

07/31/2023

1688

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Document re: Notice of Filing of Revised Order (1)(A)
Conditionally Approving the Adequacy of the Disclosure
Statement, (B) Approving the Solicitation and Notice
Procedures with Respect to Confirmation of the Plan, (C)
Approving the Forms of Ballots and Notices in Connection
Therewith, (D) Scheduling a Combined Disclosure
Statement Approval and Plan Confirmation Hearing and
Certain Dates and Deadlines with Respect Thereto, and (E)
Granting Related Relief, and (II) (A) Extending the
Debtors' Exclusive Periods to File a Chapter 11 Plan and
Solicit Acceptances Thereof Pursuant to Section 1121 of
the Bankruptcy Code and (B) Granting Related Relief filed
by Michael D. Sirota on behalf of Bed Bath & Beyond
Inc..

08/01/2023

1692

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Amended Joint Chapter 11 Plan (Solicitation Version) in
support of (related document:1429 Chapter 11 Plan filed by
Debtor Bed Bath & Beyond Inc.) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc..

08/01/2023

1712

17

Amended Disclosure Statement Relating to the Amended
Joint Chapter 11 Plan (Solicitation Version) in support of
(related document:1437 Disclosure Statement filed by
Debtor Bed Bath & Beyond Inc.) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc..

08/01/2023

171A

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Order (1)(A)Conditionally Approving Disclosure
Statement, (B) Approving the solicitation and Notice
Procedures with respect to Confirmation of the Plan, (C)
Approving the Forms of Ballots and Notices in connection
with therewith, (D) Scheduling a Combined Disclosure
Statement approval and Plan Confirmation Hearing and
certain dates and deadlines with respect thereto, and (E)
Granting related Relief, and (ii) (A) Extending the Debtors'
Exclusive Period to file a Chapter 11 Plan and solicit
acceptances thereof pursuant to section 1121 of the
Bankruptcy Code and (B) Granting Related Relief (related
document: 1690 Disclosure Statement filed by Debtor Bed
Bath & Beyond Inc.).

08/02/2023

1716

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Limited Objection to (related document:1692 Document
re: Notice of Filing of Revised Order (I)(A) Conditionally
Approving the Adequacy of the Disclosure Statement, (B)
Approving the Solicitation and Notice Procedures with
Respect to Confirmation of the Plan, (C) Approving the
Forms of Ballots and Notices in Connection Therewith, (D)
Scheduling a Combined Disclosure Statement Approval
and Plan Confirmation Hearing and Certain Dates and
Deadlines with Respect Thereto, and (E) Granting Related
Relief, and (II) (A) Extending the Debtors' Exclusive
Periods to File a Chapter 11 Plan and Solicit Acceptances
Thereof Pursuant to Section 1121 of the Bankruptcy Code
and (B) Granting Related Relief filed by Michael D. Sirota
on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed
Bath & Beyond Inc.) filed by Neelay Das, Gabriel Rostom.
(Attachments: # 1 Certificate of Service) (No Underlying
Document)

08/03/2023

1728

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20 | Motion Requesting Redaction of Personal Identifiers. 08/03/2023 1729
Receipt Number Fee Due, Fee Amount $ 26. Filed by
Neelay Das. Hearing scheduled for 8/15/2023 at 02:30 PM
at VFP - Courtroom 3B, Newark. (No Underlying
Document)

21 | Bed Bath and Beyond Common Stock Equity Interest 08/10/2023 1878
Holders' Objection to Debtors' Motion for entry of an order
(A) Conditionally approving the Adequacy of the
Disclosure Statement, (B) Approving the Solicitation and
Notice Procedures with respect to Confirmation of the
Plan, (C) Approving the forms of Ballots and Notices in
connection therewith, (D) Scheduling a Combined
Disclosure Statement approval and Plan Confirmation
hearing and certain dates and Deadlines with respect
thereto, and (E) Granting related Relief, and (II) (A)
Extending the Debtors’ Exclusivity periods to file a
Chapter 11 Plan and Solicit Acceptances thereof pursuant
to Section 1121 of the Bankruptcy Code and (B) Granting
Related Relief (related document:1713 Amended
Disclosure Statement Relating to the Amended Joint
Chapter 11 Plan (Solicitation Version) in support of
(related document:1437 Disclosure Statement filed by
Debtor Bed Bath & Beyond Inc.) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by
Debtor Bed Bath & Beyond Inc.) filed by Neelay Das and
Gabriel Rostom. (Attachments: # 1 Certificate of Service)

22 | Motion to Vacate (related document:1716 Order 08/28/2023 2068
Conditionally Approving Disclosure Statement) Filed by
Neelay Das, Gabriel Rostom. (Attachments: # 1
Certification)

23 | Application to Shorten Time (related document:2068 08/28/2023 2069
Motion to Vacate (related document:1716 Order
Conditionally Approving Disclosure Statement) filed by
Creditor Rochester Gas & Electric Corporation, Creditor
Neelay Das, Interested Party Neelay Das, Stockholder
Neelay Das) Filed by Neelay Das, Gabriel Rostom.
(Attachments: # 1 Proposed Order)

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Objection to Application for Order Shortening Time
(related document:2069 Application to Shorten Time
(related document:2068 Motion to Vacate (related
document:1716 Order Conditionally Approving Disclosure
Statement) filed by Creditor Rochester Gas & Electric
Corporation, Creditor Neelay Das, Interested Party Neelay
Das, Stockholder Neelay Das) Filed by Neelay Das,
Gabriel Rostom. (Attachments: # 1 Proposed Order) (dmc)
filed by Interested Party Gabriel Rostom, Stockholder
Gabriel Rostom, Creditor Neelay Das, Interested Party
Neelay Das, Stockholder Neelay Das) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc..

08/28/2023

2074

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Order Concerning Motion Requesting Redaction of
Personal Information, (Related Doc # 1729)

08/29/2023

2080

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Order Regarding Application to Shorten Time (related
document:2068 Motion to Vacate (related document:1716
Order Conditionally Approving Disclosure Statement) filed
by Interested Party Gabriel Rostom, Stockholder Gabriel
Rostom, Creditor Neelay Das, Interested Party Neelay Das,
Stockholder Neelay Das). Service of notice of the entry of
this order pursuant to Rule 9022 was made on the
appropriate parties. See BNC Certificate of Notice. Signed
on 8/29/2023. Hearing scheduled for 9/12/2023 at 02:30
PM at VFP - Courtroom 3B, Newark.

08/29/2023

2084

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(REDACTED VERSION) Bed Bath and Beyond Common
Stock Equity Interest Holders’ Limited Objection to
Debtors’ Proposed Revised Order conditionally approving
Disclosure Statement and other relief (related
document:1728 Limited Objection to (related
document:1692 Document re: Notice of Filing of Revised
Order (I)(A) Conditionally Approving the Adequacy of the
Disclosure Statement, (B) Approving the Solicitation and
Notice Procedures with Respect to Confirmation of the
Plan, (C) Approving the Forms of Ballots and Notices in
Connection Therewith, (D) Scheduling a Combined
Disclosure Statement Approval and Plan Confirmation
Hearing and Certain Dates and Deadlines with Respect
Thereto, and (E) Granting Related Relief, and (IT) (A)
Extending the Debtors! Exclusive Periods to File a Chapter

09/05/2023

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11 Plan and Solicit Acceptances Thereof Pursuant to
Section 1121 of the Bankruptcy Code and (B) Granting
Related Relief filed by Michael D. Sirota on behalf of Bed
Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond
Inc.) filed by Neelay Das, Gabriel Rostom. (Attachments: #
| Certificate of Service) (dmc) filed by Interested Party
Gabriel Rostom, Stockholder Gabriel Rostom, Stockholder
Neelay Das

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Bed Bath and Beyond Common Stock Equity Interest
Holders' Reply in support of the application for an order
shortening time with respect to the Motion of Bed Bath and
Beond Common Stock Equity Interest Holders' Motion for
an Order Vacating the Order Conditionally approving
Debtor's Disclosure Statement in support of (related
document:2068 Motion to Vacate (related document:1716
Order Conditionally Approving Disclosure Statement)
Filed by Neelay Das, Gabriel Rostom. (Attachments: # 1
Certification) (dmc) Modified party on 8/29/2023 (dmc).
filed by Interested Party Gabriel Rostom, Stockholder
Gabriel Rostom, Stockholder Neelay Das, 2069
Application to Shorten Time (related document:2068
Motion to Vacate (related document:1716 Order
Conditionally Approving Disclosure Statement) filed by
Gabriel Rostom, Neelay Das, Interested Party Neelay Das,
Stockholder Neelay Das) Filed by Neelay Das, Gabriel
Rostom. (Attachments: # 1 Proposed Order) (dmc)
Modified on 8/29/2023 (dmc). filed by Interested Party
Gabriel Rostom, Stockholder Gabriel Rostom, Stockholder
Neelay Das) filed by Neelay Das. (Attachments: # 1
Certificate of Service)

09/05/2023

2125

29

Proposed Findings of Fact, Conclusions of Law, and Order
(1) Approving the Disclosure Statement on a Final Basis
and (II) Confirming the Second Amended Joint Chapter 11
Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates
in support of (related document: 1429 Chapter 11 Plan filed
by Debtor Bed Bath & Beyond Inc., 1713 Support filed by
Debtor Bed Bath & Beyond Inc.) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.

09/12/2023

2162

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30 | FINDINGS OF FACT, CONCLUSIONS OF LAW, AND 09/14/2023 2172
ORDER (I) APPROVING THE DISCLOSURE
STATEMENT ON A FINAL BASIS AND (Il)
CONFIRMING THE SECOND AMENDED JOINT
CHAPTER 11 PLAN OF BED BATH & BEYOND INC.
AND ITS DEBTOR AFFILIATES (related document:1716
Order (1)(A)Conditionally Approving Disclosure
Statement, (B) Approving the solicitation and Notice
Procedures with respect to Confirmation of the Plan, (C)
Approving the Forms of Ballots and Notices in connection
with therewith, (D) Scheduling a Combined Disclosure
Statement approval and Plan Confirmation Hearing and
certain dates and deadlines with respect thereto, and (E)
Granting related Relief, and (ii) (A) Extending the Debtors’
Exclusive Period to file a Chapter 11 Plan and solicit
acceptances thereof pursuant to section 1121 of the
Bankruptcy Code and (B) Granting Related Relief (related
document: 1690 Disclosure Statement filed by Debtor Bed
Bath & Beyond Inc.). Service of notice of the entry of this
order pursuant to Rule 9022 was made on the appropriate
parties. See BNC Certificate of Notice. Signed on
8/2/2023. Confirmation hearing to be held on 9/12/2023 at
02:30 PM at VFP - Courtroom 3B, Newark. Last day to
Object to Confirmation 9/5/2023. (jf).

31 | Amended copy of redacted version of objection. (related 09/20/2023 2192
document:2124 (REDACTED VERSION) Bed Bath and
Beyond Common Stock Equity Interest Holders' Limited
Objection to Debtors' Proposed Revised Order
conditionally approving Disclosure Statement and other
relief (related document:1728 Limited Objection to (related
document:1692 Document re: Notice of Filing of Revised
Order (I)(A) Conditionally Approving the Adequacy of the
Disclosure Statement, (B) Approving the Solicitation and
Notice Procedures with Respect to Confirmation of the
Plan, (C) Approving the Forms of Ballots and Notices in
Connection Therewith, (D) Scheduling a Combined
Disclosure Statement Approval and Plan Confirmation
Hearing and Certain Dates and Deadlines with Respect
Thereto, and (E) Granting Related Relief, and (ID (A)
Extending the Debtors’ Exclusive Periods to File a Chapter
11] Plan and Solicit Acceptances Thereof Pursuant to
Section 1121 of the Bankruptcy Code and (B) Granting
Related Relief filed by Michael D. Sirota on behalf of Bed
Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond

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Inc.) filed by Neelay Das, Gabriel Rostom. (Attachments: #
1 Certificate of Service) (dmc) filed by Interested Party
Gabriel Rostom, Stockholder Gabriel Rostom, Stockholder
Neelay Das

32 | Transcript regarding Hearing Held 09/12/23 REVISED 09/22/2023 2280
(related document:1690 Disclosure Statement filed by
Debtor Bed Bath & Beyond Inc., 1716 Order Conditionally
Approving Disclosure Statement, 2068 Motion to Vacate
filed by Interested Party Gabriel Rostom, Stockholder
Gabriel Rostom, Stockholder Neelay Das). For a copy

of the Transcript, contact the Transcriber:

J&J Court Transcribers, Inc.
268 Evergreen Avenue
Hamilton, NJ 08619
609-586-2311
609-587-3599 (fax)

jjcourt@jjcourt.com

33 | Notice of Appeal to District Court. (related document:2172 | 09/28/2023 2305
Order (Generic)). Receipt Number 545925, Fee Amount $
255. Filed by Neelay Das, Gabriel Rostom.

34 | Transmittal of Record on Appeal to U.S. District Court 09/29/2023 2307
(related document:2305 Notice of Appeal filed by
Interested Party Gabriel Rostom, Stockholder Gabriel
Rostom, Stockholder Neelay Das)

35 | Notice of Docketing Record on Appeal to District Court. 10/02/2023 2396
Case Number: 23-CV-20787-MEF. (related document:
2305 Notice of Appeal filed by Gabriel Rostom, Neelay
Das). United States District Court Judge Michael E.
Farbiarz Assigned.

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36 | Motion re: of Comon Stock Equity Interest Holders for 10/13/2023 2450
Certification of Direct Appeal to the United States Court of
Appeals for the Third Circuit Filed by Neelay Das.
(Attachments: # 1 Motion of Common Stock Equity
Interest Holders for Certification of Direct Appeal # 2
Exhibit A (Proposed Order) # 3 Exhibit B (Appealed Order
- Docket Entry 2172))

37 | Application to Shorten Time (related document:2450 10/13/2023 2451
Motion re: of Comon Stock Equity Interest Holders for
Certification of Direct Appeal to the United States Court of
Appeals for the Third Circuit filed by Stockholder Neelay
Das) Filed by Neelay Das. (Attachments: # 1 Proposed
Order)

38 | Document re: Continuation of Exhibit B: Page 126 of 144 10/13/2023 2454
(related document:2450 Motion (Generic) filed by
Stockholder Neelay Das) filed by Neelay Das.

39 | Motion re: EMERGENCY MOTION OF COMMON 10/13/2023 2455
STOCK EQUITY INTEREST HOLDERS FOR STAY
AND ASSOCIATED RELIEF PENDING APPEAL
PURSUANT TO FED. R. BANKR. P. 8013(d} AND 8007
Filed by Neelay Das. (Attachments: # 1 Emergency Motion
# 2 Exhibit I Das Affidavit # 3 Exhibit II Proposed Order #
4 Exhibit II] Motion for Certification of Direct Appeal # 5
Certificate of Service)

40 | Notice of Emergency Motion of Common Stock Equity 10/16/2023 2471
Interest Holders To Stay Pending Direct Appeal (related
document:2172 Order (Generic)) Filed by Neelay Das.
(Attachments: # 1 Emergency Motion of Common Stock
Equity Interest Holders for Stay and Associated Relief
pending Appeal Pursuant to Fed.R.Bankr. P. 801 3(d) AND
8007 # 2 Exhibit 1 #3 Exhibit 2 # 4 Exhibit A Proposed
Order # 5 Exhibit B Appealed Order # 6 Certificate of
Service) (jf) Modified on 10/16/2023

41 | Order Granting Application to Shorten Time (related 10/17/2023 2473
document:2450 Motion re: of Common Stock Equity
Interest Holders for Certification of Direct Appeal to the
United States Court of Appeals for the Third Circuit filed
by Stockholder Neelay Das, and 2471 Motion To Stay
Pending Direct Appeal (related document:2172 Order
(Generic)) filed by Stockholder Neelay Das). Service of

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notice of the entry of this order pursuant to Rule 9022 was
made on the appropriate parties. See BNC Certificate of
Notice. Signed on 10/17/2023. Hearing scheduled for
10/31/2023 at 11:00 AM by Zoom.

42 | Objection to Motion of Common Stock Equity Interest 10/27/2023 2630
Holders for Certification of Direct Appeal to the United
States Court of Appeals for the Third Circuit (related
document:2450 Motion re: of Comon Stock Equity Interest
Holders for Certification of Direct Appeal to the United
States Court of Appeals for the Third Circuit Filed by
Neelay Das. (Attachments: # 1 Motion of Common Stock
Equity Interest Holders for Certification of Direct Appeal #
2 Exhibit A (Proposed Order) # 3 Exhibit B (Appealed
Order - Docket Entry 2172)) (rah) filed by Stockholder
Neelay Das, 2471 Notice of Emergency Motion of
Common Stock Equity Interest Holders To Stay Pending
Direct Appeal (related document:2172 Order (Generic))
Filed by Neelay Das. (Attachments: # 1 Emergency Motion
of Common Stock Equity Interest Holders for Stay and
Associated Relief pending Appeal Pursuant to
Fed.R.Bankr. P. 8013(d) AND 8007 # 2 Exhibit 1 #3
Exhibit 2 # 4 Exhibit A Proposed Order # 5 Exhibit B
Appealed Order # 6 Certificate of Service) (jf) Modified on
10/16/2023 (jf). filed by Stockholder Neelay Das, 2473
Order Granting Application to Shorten Time (related
document:2450 Motion re: of Common Stock Equity
Interest Holders for Certification of Direct Appeal to the
United States Court of Appeals for the Third Circuit filed
by Stockholder Neelay Das, and 2471 Motion To Stay
Pending Direct Appeal (related document:2172 Order
(Generic)) filed by Stockholder Neelay Das). Service of
notice of the entry of this order pursuant to Rule 9022 was
made on the appropriate parties. See BNC Certificate of
Notice. Signed on 10/17/2023. Hearing scheduled for
10/31/2023 at 11:00 AM by Zoom. (jf)) filed by Bradford
J. Sandler on behalf of Plan Administrator.

43 | Response in Opposition to Emergency Motion of Common | 10/27/2023 2632
Stock Equity Interest Holders for Stay and Associated
Relief Pending Appeal Pursuant to Fed. R. Bankr. P.
8013(d) and 8007 (related document:2471 Notice of
Emergency Motion of Common Stock Equity Interest
Holders To Stay Pending Direct Appeal (related
document:2172 Order (Generic)) Filed by Neelay Das.
(Attachments: # 1 Emergency Motion of Common Stock

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Equity Interest Holders for Stay and Associated Relief
pending Appeal Pursuant to Fed.R.Bankr. P. 8013(d) AND
8007 # 2 Exhibit 1 # 3 Exhibit 2 # 4 Exhibit A Proposed
Order # 5 Exhibit B Appealed Order # 6 Certificate of
Service) (jf) Modified on 10/16/2023 (jf). filed by
Stockholder Neelay Das, 2473 Order Granting Application
to Shorten Time (related document:2450 Motion re: of
Common Stock Equity Interest Holders for Certification of
Direct Appeal to the United States Court of Appeals for the
Third Circuit filed by Stockholder Neelay Das, and 2471
Motion To Stay Pending Direct Appeal (related
document:2172 Order (Generic)) filed by Stockholder
Neelay Das). Service of notice of the entry of this order
pursuant to Rule 9022 was made on the appropriate parties.
See BNC Certificate of Notice. Signed on 10/17/2023.
Hearing scheduled for 10/31/2023 at 11:00 AM by Zoom.
(jf) filed by Bradford J. Sandler on behalf of Plan
Administrator.

44 | PDF with attached Audio File. Court Date & Time ( 10/31/2023 2641
10/31/2023 11:01:41 AM ). File Size (21048 KB ). Run
Time (00:43:51 ).

45 | ORDER DENYING EMERGENCY MOTION OF 11/01/2023 2648
COMMON STOCK EQUITY INTEREST HOLDERS
FOR STAY AND ASSOCIATED RELIEF PENDING
APPEAL PURSUANT TO FED.R.BANK.P.8013(D) AND
8007. (related document:2471 Notice of Emergency
Motion of Common Stock Equity Interest Holders To Stay
Pending Direct Appeal (related document:2172 Order
(Generic)) Filed by Neelay Das. (Attachments: # 1
Emergency Motion of Common Stock Equity Interest
Holders for Stay and Associated Relief pending Appeal
Pursuant to Fed.R.Bankr. P. 8013(d) AND 8007 # 2 Exhibit
1 #3 Exhibit 2 # 4 Exhibit A Proposed Order # 5 Exhibit B
Appealed Order # 6 Certificate of Service) (jf) Modified on
10/16/2023 (jf). filed by Stockholder Neelay Das). Service
of notice of the entry of this order pursuant to Rule 9022
was made on the appropriate parties. See BNC Certificate
of Notice. Signed on 11/1/2023.

[signatures follow]

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Date: 12/05/2023 Wen

Neelay Das

Date: 12/05/2023

1c 5, 2023 21-02 GMT+E)

Gabriel Rostom

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